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P|aintiff

vs.

CR. NO. 05-20121-D
KENDR|C HENN|NGS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on lVlay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Thursday, Ju|y 21, 2005, at 9:00 a.m., in Courtroom 3, 9th Floor of the

Federal Building, Memphis, TN.

 

The period from l\/|ay 19, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT ls so oRDERED this 34 day of lvlay, 2005.

lB N|CEB.DO ALD

UN|TED STATES D|STR|CT JUDGE

't`his doct.merlt entered on the docket sheet in compliance
with Fi.lle 55 and/or 32(bl FHCrP on " '

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20121 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

